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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 17-cv-03130-GPG

BYRON TYROME TODD,

      Applicant,

v.

HANSEN, et al.,

      Respondents.


                                ORDER OF DISMISSAL


      Applicant, Byron Tyrome Todd, is a prisoner in the custody of the Colorado

Department of Corrections. Mr. Todd initiated this action by filing pro se an Application

for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241 (ECF No. 1). On February 5,

2018, Mr. Todd filed an amended application (ECF No. 7). In the amended application

Mr. Todd challenges the execution of his sentence with respect to good and earned time

credits and parole.

      On February 7, 2018, Magistrate Judge Gordon P. Gallagher ordered Respondent

to file a Preliminary Response that addresses the affirmative defenses of timeliness

under 28 U.S.C. § 2244(d) and exhaustion of state remedies if Respondent intends to

raise either or both of those defenses in this action. On March 2, 2018, Magistrate Judge

Gallagher issued a second order directing Respondent to file a Preliminary Response.

On March 27, 2017, Respondent filed a Preliminary Response (ECF No. 21) arguing that

this action should be dismissed for failure to exhaust state remedies. On April 18, 2018,
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Mr. Todd filed a motion (ECF No. 24) asking the Court to appoint an amicus curie to

present oral argument on his behalf. On April 19, 2018, Mr. Todd filed a Motion for

Evidentiary Hearing (ECF No. 22) and a motion to reconsider (ECF No. 23) in which he

argues he has exhausted all available administrative and state court remedies. Mr. Todd

also argues that Respondent waived the right to raise an affirmative defense because the

Preliminary Response was filed out of time. The Court will accept the Preliminary

Response and consider the affirmative defense raised by Respondent.

      The Court must construe the amended application and other papers filed by Mr.

Todd liberally because he is not represented by an attorney. See Haines v. Kerner, 404

U.S. 519, 520-21 (1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).

However, the Court should not be an advocate for a pro se litigant. See Hall, 935 F.2d at

1110. For the reasons stated below, the Court will dismiss the action for failure to

exhaust state remedies.

      Although the precise claims Mr. Todd is asserting are not entirely clear, it is clear

that he is challenging the execution of his sentence with respect to good and earned time

credits and parole. The Court construes the amended application liberally as asserting

federal constitutional claims. As relief Mr. Todd asks seeks correct application and

restoration of good and earned time credits, an order directing the DOC to reverse

disciplinary actions and stop punishing and misclassifying him based on fabricated

evidence, an apology, and immediate release to either parole or community corrections.

      Mr. Todd may not assert any constitutional claims challenging the execution of his

sentence in a habeas corpus action in federal court unless he has exhausted state court

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remedies. See Montez v. McKinna, 208 F.3d 862, 866 (10th Cir. 2000). The exhaustion

requirement is satisfied once the federal claims have been presented fairly to the state

courts. See Castille v. Peoples, 489 U.S. 346, 351 (1989). Fair presentation requires

that the federal issues be presented properly “to the highest state court, either by direct

review of the conviction or in a postconviction attack.” Dever v. Kan. State Penitentiary,

36 F.3d 1531, 1534 (10th Cir. 1994).

       Furthermore, the “substance of a federal habeas corpus claim” must have been

presented to the state courts in order to satisfy the fair presentation requirement. Picard

v. Connor, 404 U.S. 270, 278 (1971); see also Nichols v. Sullivan, 867 F.2d 1250, 1252

(10th Cir. 1989). Although fair presentation does not require a habeas corpus petitioner

to cite “book and verse on the federal constitution,” Picard, 404 U.S. at 278 (internal

quotation marks omitted), “[i]t is not enough that all the facts necessary to support the

federal claim were before the state courts.” Anderson v. Harless, 459 U.S. 4, 6 (1982)

(per curiam). A claim must be presented as a federal constitutional claim in the state

court proceedings in order to be exhausted. See Duncan v. Henry, 513 U.S. 364, 365-66

(1995) (per curiam).

       Finally, “[t]he exhaustion requirement is not one to be overlooked lightly.”

Hernandez v. Starbuck, 69 F.3d 1089, 1092 (10th Cir. 1995). A state prisoner bringing a

federal habeas corpus action bears the burden of showing he has exhausted all available

state remedies for each particular claim. See Miranda v. Cooper, 967 F.2d 392, 398

(10th Cir. 1992). A blanket statement that state remedies have been exhausted does not

satisfy this burden. See Olson v. McKune, 9 F.3d 95 (10th Cir. 1993); see also Fuller v.



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Baird, 306 F. App’x 430, 431 n.3 (10th Cir. 2009) (stating that a bald assertion

unsupported by court records is insufficient to demonstrate state remedies are

exhausted).

       Mr. Todd fails to demonstrate he has fairly presented his claims to the highest state

court. Whatever grievances or other administrative remedies he has pursued do not

satisfy the requirement that he fairly present each federal constitutional claim to the state

courts. Mr. Todd does allege that he filed an action in the Fremont County District Court.

However, even assuming he asserted one or more federal constitutional claims in that

action that are relevant to his claims in this action, he did not fairly present those claims to

the state’s highest court by filing an action in state district court. Respondent concedes

that Mr. Todd has filed a direct appeal in one of his criminal cases that remains pending.

However, a direct criminal appeal that is not even final does not demonstrate Mr. Todd

has fairly presented to the state’s highest court the claims he is asserting in this action

challenging the execution of his sentence.

       Finally, Mr. Todd contends he has exhausted state remedies by filing one or more

original proceedings in the Colorado Supreme Court. However, even assuming he

raised in the original proceedings the same federal constitutional claims he is asserting in

this action, he still fails to demonstrate the claims were fairly presented to the Colorado

Supreme Court. If a “claim has been presented [to the state’s highest court] for the first

and only time in a procedural context in which its merits will not be considered unless

there are special and important reasons therefor, . . . [r]aising the claim in such a fashion

does not, for the relevant purpose, constitute fair presentation.” Castille, 489 U.S. at



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351; see also Parkhurst v. Shillinger, 128 F.3d 1366, 1369 (10th Cir. 1997) (state

procedure that is discretionary and limited in scope does not constitute fair presentation).

The Colorado Supreme Court, in its discretion, may decline to address the merits of

claims asserted in an original petition for an extraordinary writ. See Colo App. R. 21; see

also Rogers v. Best, 171 P.2d 769, 770 (Colo. 1946). Furthermore, relief under Rule 21

“shall be granted only when no other adequate remedy, including relief available by

appeal or under C.R.C.P. 106, is available.” C.A.R. 21(a)(1). As a result, the denial of

an original petition for an extraordinary writ by the Colorado Supreme Court does not

indicate that the court has considered the merits of the argument. See Bell v. Simpson,

918 P.2d 1123, 1125 n.3 (Colo. 1996).

       The instant action will be dismissed without prejudice for failure to exhaust state

remedies. The Court also certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal

from this order would not be taken in good faith and therefore in forma pauperis status will

be denied for the purpose of appeal. See Coppedge v. United States, 369 U.S. 438

(1962). If Applicant files a notice of appeal he also must pay the full $505 appellate filing

fee or file a motion to proceed in forma pauperis in the United States Court of Appeals for

the Tenth Circuit within thirty days in accordance with Fed. R. App. P. 24. Accordingly, it

is

       ORDERED that the Application for a Writ of Habeas Corpus Pursuant to 28 U.S.C.

§ 2241 (ECF No. 1) and the amended Application for a Writ of Habeas Corpus Pursuant

to 28 U.S.C. § 2241 (ECF No. 7) are denied and the action is dismissed without prejudice

for failure to exhaust state court remedies. It is



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      FURTHER ORDERED that no certificate of appealability will issue because

Applicant has not made a substantial showing of the denial of a constitutional right. It is

      FURTHER ORDERED that leave to proceed in forma pauperis on appeal is denied

without prejudice to the filing of a motion seeking leave to proceed in forma pauperis on

appeal in the United States Court of Appeals for the Tenth Circuit. It is

      FURTHER ORDERED that the pending motions are denied.

      DATED at Denver, Colorado, this       24th    day of    April         , 2018.

                                                   BY THE COURT:



                                                    s/Lewis T. Babcock
                                                   LEWIS T. BABCOCK, Senior Judge
                                                   United States District Court




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